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                                     570 Lexington Avenue, Suite 3500
                                           New York, NY 10022
Michael F. Westfal
Counsel
212-466-6404
michael.westfal@mukaseylaw.com


                                                         November ___, 2024

VIA FEDERAL EXPRESS
Judicial Assistance Officer
United States Department of State
Office of Legal Affairs
2201 C Street, NW
SA-17, 10th Floor
Washington, DC 20522-1710

        Re:     Request for International Judicial Assistance (Letter Rogatory) from the
                Federal Republic of Germany, executed by The Honorable Judge John G.
                Koeltl of the United States District Court for the Southern District of New
                York in United States v. Alexander Mashinsky, 23 Cr. 347 (JGK)

Dear Judicial Assistance Officer:

       We represent Alexander Mashinsky, a defendant in a criminal prosecution currently
pending in the United States District Court for the Southern District of New York, Case No. 23
Cr. 347 (JGK). A jury trial in this matter is currently scheduled to begin before the Honorable
Judge John G. Koeltl on January 28, 2025.

        On __________, 2024, Judge Koeltl executed the enclosed Request for International
Judicial Assistance (Letter Rogatory) from the Federal Republic of Germany. The Letter
Rogatory seeks judicial assistance with compelling sworn deposition testimony from the
following individual in Germany:

                Johannes Treutler

                                 Germany


        Judge Koeltl determined in a written opinion that Mr. Treutler may be able to provide
material testimony that could “challenge central aspects of the [G]overnment’s allegations”
against Mr. Mashinsky. See ECF No. 91, November 8, 2024 Memorandum Opinion & Order, at
pages 18-21 (Exhibit A to Letter Rogatory).
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        On behalf of Mr. Mashinsky, we respectfully request that the United States Department
of State transmit the enclosed Letter Rogatory to the appropriate Central Authority or judicial
authority in the Federal Republic of Germany. We have enclosed the original Letter Rogatory
bearing the seal of the United States District Court for the Southern District of New York and the
signature of Judge Koeltl, along with a photocopy of the English version, an original translation
of the Letter Rogatory into German, and a photocopy of the German version.

        As set forth in the enclosed Letter Rogatory, we request that the executed letter rogatory
be returned to Judge Koeltl’s Case Manager Don Fletcher, along with a notification to our law
firm, at the following addresses:

               The Honorable John G. Koeltl
               United States District Judge
               United States Courthouse for the Southern District of New York
               500 Pearl Street, Courtroom 14A
               New York, New York 10007
               United States of America
               Don Fletcher, Case Manager
               (212) 805-0107
               donnie fletcher@nysd.uscourts.gov

               Marc L. Mukasey
               Torrey K. Young
               Michael F. Westfal
               Mukasey Young LLP
               570 Lexington Avenue, Suite 3500
               New York, New York 10022
               United States of America
               (212) 466-6404
               Marc.mukasey@mukaseylaw.com
               Torrey.young@mukaseylaw.com
               Michael.westfal@mukaseylaw.com

        We have enclosed a certified check payable to the U.S. Embassy Berlin for the consular
fees for transmittal of letters rogatory pursuant to 22 C.F.R. § 22.1 (Schedule of Fees). Please let
me know if any additional costs are required to transmit the enclosed Letter Rogatory to the
Federal Republic of Germany so that our client may cover such costs without delay. To the
extent that the Department of State has any questions concerning the enclosed Letter Rogatory,
we can be reached at the phone number and email addresses listed above.

       We greatly appreciate the Department of State’s willingness to assist in this matter.
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November __, 2024
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                                                  Respectfully submitted,

                                                   /s/ Michael F. Westfal
                                                  Marc L. Mukasey
                                                  Torrey K. Young
                                                  Michael Westfal

                                                  Counsel for Alexander Mashinsky

Enclosures

Cc:    All counsel of record (via email):

       Allison Nichols
       Adam Hobson
       Peter Davis
       United States Attorney’s Office, Southern District of New York
       26 Federal Plaza, 37th Floor
       New York, New York 10278
       United States of America
       Allison.Nichols@usdoj.gov
       Adam.Hobson@usdoj.gov
       Peter.Davis2@usdoj.gov
